Case 5:25-cv-00851-JGB-SHK       Document 1   Filed 04/07/25   Page 1 of 10 Page ID
                                        #:1


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7

8
                             UNITED STATES DISTRICT COURT
9
                        CENTRAL DISTRICT OF CALIFORNIA
10

11
     HOANG MINH LE, an individual               Case No.: 5:25-cv-851
12
                Plaintiff,                      COMPLAINT FOR
13
          vs.
14                                                 (1) VIOLATION OF THE UNRUH
     POTOMAC PLAZA, LLC, a limited                     CIVIL RIGHTS ACT
15   liability company
                                                       (CALIFORNIA CIVIL CODE
16              Defendants.                            §§ 51, 52);
17                                                 (2) VIOLATIONS OF THE
                                                       AMERICANS WITH
18
                                                       DISABILITIES ACT OF 1990
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                                       COMPLAINT
                                    CASE NO. 5:25-CV-851
Case 5:25-cv-00851-JGB-SHK          Document 1          Filed 04/07/25   Page 2 of 10 Page ID
                                           #:2


1
                                                 I.
2
                                             SUMMARY
3
             1.    This is a civil rights action by Plaintiff HOANG MINH LE (“Plaintiff”)
4
     for discrimination at the building, structure, facility, complex, property, land,
5
     development, and/or the entire parking lot surrounding the shopping plaza bearing the
6
     legal address: 2376 Del Rosa Ave, San Bernardino, CA, 92404, San Bernardino
7
     County (APN: 0272-201-55) (the “Property”). Plaintiff is often in the area for dining
8
     and entertainment as he has family and friends that he visits in the vicinity and lives
9
     approximately 30 minutes from the Property. He also enjoys the businesses and stores
10
     in the area and often visits the area at least 9 times a year. On this particular visit, he
11
     desired to patronize the “Amapola Rico Taco” restaurant located at the Property.
12
             2.    Plaintiff seeks damages, injunctive and declaratory relief, attorney’s fees
13
     and costs pursuant to the Americans with Disabilities Act of 1990 (42 U.S.C. §§
14
     12101, et seq.) and related California statutes 1 against Defendant, the tenant and/or
15
     owner of the Property POTOMAC PLAZA, LLC, a limited liability company
16
     (“Defendant”).
17
                                                  II.
18
                                           JURISDICTION
19
             3.    This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343
20
     for ADA claims.
21
             4.    Supplemental jurisdiction for claims brought under parallel California
22
     law – arising from the same nucleus of operative facts – is predicated on 28 U.S.C §
23
     1367.
24
             5.    Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
25
                                                  III.
26
                                                VENUE
27
     1
28    Plaintiff is not currently asserting a cause of action under California Civil Code § 55, but may
     amend his complaint at a later time upon discovery of facts which give rise to such a claim.
                                                        1
                                            COMPLAINT
                                         CASE NO. 5:25-CV-851
Case 5:25-cv-00851-JGB-SHK          Document 1     Filed 04/07/25    Page 3 of 10 Page ID
                                           #:3


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           6.       All actions complained of herein take place within the jurisdiction of the
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     United States District Court, Central District of California, and venue is invoked
3
     pursuant to 28 U.S.C. § 1391(b), (c).
4
                                                 IV.
5
                                              PARTIES
6
           7.       On information and belief, Plaintiff alleges that Defendant is, or was at
7
     the time of the incident, the owners, operators, lessors and/or lessees of the Property,
8
     and consist of a person (or persons), firm, company, and/or corporation.
9
           8.       Plaintiff is a T-12 paraplegic, and as a result is unable to walk or stand,
10
     and thus requires a use of a wheelchair at all times when traveling in public. Plaintiff
11
     drives a car modified with hand controls and has a disabled parking placard. Plaintiff
12
     is “physically disabled” as defined by all applicable California and United States laws,
13
     and a member of the public whose rights are protected by these laws. Plaintiff is a
14
     resident of San Bernardino, California.
15
                                                       V.
16
                                                  FACTS
17
           9.       On or about May 9, 2024, Plaintiff patronized the Property. The Property
18
     is a sales or retail establishment, open to the public, which is intended for
19
     nonresidential use and whose operation affects commerce.
20
           10.      Plaintiff visited the Property and encountered barriers (both physical and
21
     intangible) that interfered with Plaintiff’s ability to use and enjoy the goods, services,
22
     privileges and accommodations offered at the facility. To the extent known by
23
     Plaintiff, the barriers at the Property included, but are not limited to the following:
24
                 a. The access aisle and/or accessible parking spaces have slopes and cross
25
                    slopes that exceed 2.0%, including but not limited to ramps that protrude
26
                    into access aisles creating excessive sloping. Without a level parking
27
                    space, it becomes difficult for Plaintiff to unload/transfer from his vehicle
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                                                   2
                                           COMPLAINT
                                        CASE NO. 2:25-CV-959
Case 5:25-cv-00851-JGB-SHK          Document 1     Filed 04/07/25   Page 4 of 10 Page ID
                                           #:4


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                    as his wheelchair rolls.
2
                 b. To the extent that the ramps protruding onto the access aisle are intended
3
                    to provide an accessible pathway, the ramps are too steep and do not
4
                    contain the required handrails, thus making it extremely unsafe for
5
                    Plaintiff to use because when going up or down the makeshift ramp,
6
                    Plaintiff can easily lose his balance.
7
                 c. There are abrupt level changes in parking spaces that can cause Plaintiff’s
8
                    wheels to get stuck leading Plaintiff to tipping over.
9
                 d. Accessible parking spaces are not properly marked and maintained. For
10
                    example, pavement marking is severely faded making it difficult for
11
                    Plaintiff to determine which spaces will accommodate Plaintiff’s
12
                    disability.
13
                 e. There are no accessible pedestrian routes connecting the various building
14
                    on the same property site. This makes it difficult when Plaintiff attempts
15
                    to travel throughout the Property.
16
           11.      These barriers to access are listed without prejudice to Plaintiff citing
17
     additional barriers to access after inspection by Plaintiff’s access consultant, per the
18
     9th Circuits standing standards under Doran v. 7-Eleven, Inc. 524 F.3d 1034 (9th Cir.
19
     2008). These barriers prevented Plaintiff from enjoying full and equal access to the
20
     Property.
21
           12.      Plaintiff experienced difficulty, discomfort and embarrassment as a result
22
     of the accessible barriers he encountered. He continues to be deterred from visiting
23
     the Property because of the future threats of injury created by these barriers. Plaintiff
24
     would patronize the Property once the barriers are removed as he enjoys patronizing
25
     the restaurant at the Property. Plaintiff would also return to the Property within 6-12
26
     months once the barriers are corrected to ensure that the barriers have in fact been
27
     properly removed and/or corrected and also to patronize the stores at the Property.
28
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                                           COMPLAINT
                                        CASE NO. 2:25-CV-959
Case 5:25-cv-00851-JGB-SHK         Document 1     Filed 04/07/25    Page 5 of 10 Page ID
                                          #:5


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           13.    On information and belief, Plaintiff alleges that Defendant knew that
2
     these elements and areas of the Property were inaccessible, violate state and federal
3
     law, and interfere with (or deny) access to the physically disabled. Moreover,
4
     Defendant has the financial resources to remove these barriers from the Property
5
     (without much difficult or expense), and make the Property accessible to the
6
     physically disabled. To date, however, the Defendant refuses to remove those
7
     barriers.
8
           14.    On information and belief, Plaintiff alleges that at all relevant times,
9
     Defendant has possessed and enjoyed sufficient control and authority to modify the
10
     Property to remove impediments to wheelchair access and to comply with the
11
     Americans with Disabilities Act Accessibility Guidelines and Title 24 regulations.
12
     Defendant has not removed such impediments and has not modified the Property to
13
     conform to accessibility standards.
14
                                                VI.
15
           FIRST CAUSE OF ACTION: VIOLATION OF CALIFORNIA LAW
16
           INCLUDING: THE UNRUH ACT, CIVIL CODE §§ 51, 52 AND THE
17
      AMERICANS WITH DISABILITIES ACT AS INCORPORATED BY CIVIL
18
                                      CODE SECTION 51(f)
19
            15.   Plaintiff incorporates the allegations contained in paragraphs 1 through
20
     14 for this claim and incorporates them herein.
21
            16.   At all times relevant to this complaint, California Civil Code § 51 has
22
     provided that physically disabled persons are free and equal citizens of the state,
23
     regardless of disability or medical condition:
24
            17.   All persons within the jurisdiction of this state are free and equal, and no
25
     matter what their sex, race, color, religion, ancestry, national origin, disability, or
26
     medical condition are entitled to the full and equal accommodations, advantages,
27
     facilities, privileges, or services in all business establishments of every kind
28
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                                          COMPLAINT
                                       CASE NO. 2:25-CV-959
Case 5:25-cv-00851-JGB-SHK         Document 1      Filed 04/07/25    Page 6 of 10 Page ID
                                          #:6


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     whatsoever. Cal. Civ. Code § 51(b).
2
           18.     California Civil Code § 52 provides that the discrimination by Defendant
3
     against Plaintiff on the basis of his disabilities constitutes a violation of the anti-
4
     discrimination provisions of §§ 51 and 52.
5
           19.    Defendant’s discrimination constitutes a separate and distinct violation of
6
     California Civil Code § 52 which provides that:
7
           Whoever denies, aids or incites a denial, or makes any discrimination or
8
           distinction contrary to section 51, 51.5 or 51.6 is liable for each and every
9
           offense for the actual damages, and any amount that may be determined by a
10
           jury, or a court sitting without a jury, up to a maximum of three times the
11
           amount of actual damage but in no case less than four thousand dollars ($4,000)
12
           and any attorney’s fees that may be determined by the court in addition thereto,
13
           suffered by any person denied the rights provided in Section 51, 51.5 or 51.6.
14
           20.    Any violation of the Americans with Disabilities Act of 1990 (as pled in
15
     the Second Cause of Action) constitutes a violation of California Civil Code § 51(f)
16
     thus independently justifying an award of damages and injunctive relief pursuant to
17
     California law. Per § 51(f), “[a] violation of the right of any individual under the
18
     Americans with Disabilities Act of 1990 … shall also constitute a violation of this
19
     section.”
20
           21.    In addition to the occurrence in March 2024 Plaintiff is entitled to
21
     $4,000.00 in statutory damages for each additional occurrence of discrimination under
22
     California Civil Code § 52. Plaintiff continues to be deterred from visiting the
23
     Property and thus is entitled to an additional $4,000.00 in statutory damages for each
24
     additional instance of deterrence or discrimination which occurs from the date of this
25
     complaint until a final judgment is rendered in this action.
26
           22.    The actions and omissions of Defendant as herein alleged constitute a
27
     denial of access to and use of the described public facilities by physically disabled
28
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                                           COMPLAINT
                                        CASE NO. 2:25-CV-959
Case 5:25-cv-00851-JGB-SHK         Document 1     Filed 04/07/25   Page 7 of 10 Page ID
                                          #:7


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     persons within the meaning of California Civil Code §§ 51 and 52. As a proximate
2
     result of Defendant’s action and omissions Defendant has discriminated against
3
     Plaintiff in a violation of Civil Code §§ 51 and 51.
4
                                                VII.
5
      SECOND CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
6
                   DISABILITIES ACT OF 1990 (42 USC §§ 12101 et seq.)
7
           23.    Plaintiff incorporates the allegations contained in paragraphs 1 through
8
     23 for this claim and incorporates them herein.
9
           24.    As part of the Americans with Disabilities Act of 1990 (“ADA”),
10
     Congress passed “Title III – Public Accommodations and Services Operated by
11
     Private Entities.” 42 U.S.C. § 12181 et seq. The Property is one of the “private
12
     entities” which are considered “public accommodations” for purposes of this title,
13
     which includes any “restaurant, bar, or other sales or rental establishment serving food
14
     or drink.” § 301(7)(B).
15
           25.    The ADA states that “[n]o individual shall be discriminated against on
16
     the basis of disability in the full and equal enjoyment of the goods, services, facilities,
17
     privileges, advantages, or accommodations of any place of public accommodation by
18
     any person who owns, leases, or leases to, or operates a place of public
19
     accommodation.” 42 U.S.C. § 12182.
20
           26.    The acts and omissions of Defendant set forth herein were in violation of
21
     Plaintiff's rights under the ADA and the regulations promulgated thereunder, 28 CFR
22
     Part 36 et seq.
23
           27.    On information and belief, Plaintiff alleges that the Property was
24
     constructed after 1992 and thus Defendant is not entitled to the readily achievable
25
     defense. On further information and belief, Plaintiff alleges that the removal of each
26
     of the barriers complained of by Plaintiff as hereinabove alleged, were at all times
27
     herein mentioned "readily achievable" under the standards §§ 30 l and 302 of the
28
                                                  6
                                          COMPLAINT
                                       CASE NO. 2:25-CV-959
Case 5:25-cv-00851-JGB-SHK         Document 1      Filed 04/07/25    Page 8 of 10 Page ID
                                          #:8


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     ADA. As noted hereinabove, removal of each and every one of the architectural
2
     barriers complained of herein were also required under California law. Further, on
3
     information and belief, alterations, structural repairs or additions since January 26,
4
     1993 have also independently triggered requirements for removal of barriers to access
5
     for disabled persons per § 303 of the ADA. In the event that removal of any barrier is
6
     found to be "not readily achievable," Defendant still violated the ADA, per§ 302(b
7
     )(2)(A)(v) by failing to provide all goods, services, privileges, advantages and
8
     accommodations through alternative methods that were readily achievable.
9
           28.    On information and belief, Plaintiff alleges that as of the date of
10
     Plaintiff’s encounter at the Property and as of the filing of this Complaint, the
11
     Defendant has denied and continues to deny full and equal access to Plaintiff and to
12
     other disabled persons, including wheelchair users, in other respects, which violate
13
     Plaintiff's rights to full and equal access and which discriminate against Plaintiff on
14
     the basis of his disability, thus wrongfully denying to Plaintiff the full and equal
15
     enjoyment of the goods, services, facilities, privileges, advantages and
16
     accommodations, in violation of§§ 302 and 303 of the ADA. 42 USC§§ 12182 and
17
     12183.
18
           29.    On information and belief, Plaintiff alleges that Defendant has continued
19
     to violate the law and deny the rights of Plaintiff and other disabled persons to access
20
     this public accommodation since on or before Plaintiff's encounters, as previously
21
     noted. Pursuant to the ADA, § 308, 42 USC 12188 et seq., Plaintiff is entitled to the
22
     remedies and procedures set forth in§ 204(a) of the Civil Rights Act of 1964, 42 USC
23
     2000(a)-3(a), as Plaintiff is being subjected to discrimination on the basis of disability
24
     in violation of the ADA or has reasonable grounds for believing that he is about to be
25
     subjected to discrimination. Pursuant to § 308(a)(2), "In cases of violations of§ 302(b
26
     )(2)(A)(iv) and § 303(a) ... injunctive relief shall include an order to alter facilities to
27
     make such facilities readily accessible to and usable by individuals with disabilities to
28
                                                   7
                                           COMPLAINT
                                        CASE NO. 2:25-CV-959
Case 5:25-cv-00851-JGB-SHK          Document 1      Filed 04/07/25   Page 9 of 10 Page ID
                                           #:9


1
     the extent required by this title."
2
              30.   Plaintiff seeks relief pursuant to remedies set forth in§ 204(a) of the Civil
3
     Rights Act of 1964, 42 USC 2000(a)-3(a), and pursuant to Federal Regulations
4
     adopted to implement the Americans with Disabilities Act of 1990. Plaintiff is a
5
     qualified disabled person for purposes of § 308(a) of the ADA who is being subjected
6
     to discrimination on the basis of disability in violation of Title III and who has
7
     reasonable grounds for believing he will be subjected to such discrimination each time
8
     that he may attempt to use the Property and premises.
9

10
                                                   PRAYER
11
              31.   WHEREFORE, Plaintiff prays that this court award damages and provide
12
     relief as follows:
13
        1. Issue a preliminary and permanent injunction directing Defendant as current
14
     owners, operators, lessors, and/or lessees of the Property to modify the above
15
     described Property and related facilities so that each provides full and equal access to
16
     all persons, including but not limited to persons with physical disabilities who use
17
     wheelchairs, and issue a preliminary and permanent injunction directing Defendant to
18
     provide and maintain facilities usable by Plaintiff and similarly situated persons with
19
     disabilities, and which provide full and equal access, as required by law, including
20
     appropriate changes in policy;
21
        2. Retain jurisdiction over the Defendant until such time as the Court is satisfied
22
     that Defendant’s unlawful policies, practices, acts and omissions, and maintenance of
23
     inaccessible public facilities as complained of herein no longer occur, and can not
24
     recur;
25
        3. Award to Plaintiff statutory damages of $4,000 for each occurrence of
26
     deterrence or discrimination experienced by Plaintiff until a final judgment is rendered
27
     in this case, all according to proof;
28
                                                    8
                                              COMPLAINT
                                           CASE NO. 2:25-CV-959
Case 5:25-cv-00851-JGB-SHK        Document 1 Filed 04/07/25      Page 10 of 10 Page ID
                                         #:10


1
        4. Award to Plaintiff all appropriate damages, including but not limited to
2
     statutory damages, general damages and treble damages in amounts within the
3
     jurisdiction of this Court, all according to proof;
4
        5. Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and
5
     costs of this proceeding as provided by law;
6
        6. Award to Plaintiff prejudgment interest pursuant to California Civil 17 Code§
7
     3291;
8
        7. Grant such other and further relief as this Court may deem just and proper.
9

10                                      ASCENSION LAW GROUP, PC

11
     DATE: April 7, 2025                      _____/s/ Pamela Tsao__
12                                        Pamela Tsao, attorney for Plaintiff
13                                                Hoang Minh Le
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                                          COMPLAINT
                                       CASE NO. 2:25-CV-959
